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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT


 JONATHAN MICHEL, individually and on behalf            No. 3:20-cv-01080-JCH
 of all others similarly situated,

                      Plaintiff,

         v.

 YALE UNIVERSITY,

                        Defendant.



                RULE 26(f) REPORT OF PARTIES’ PLANNING MEETING

        Pursuant to Fed. R. Civ. P. 16(b), 26(f), and D. Conn. L. Civ. R. 16, and this court’s

orders extending the deadline to file this report, the parties held conferences on October 6,

October 21 and December 14, 2020. The participants (on the various conferences) were Yve

Golan and Jim Francis for Plaintiff Jonathan Michel, and Kim Rinehart and Benjamin Daniels

for Defendant Yale University.

                                           CERTIFICATION

        Undersigned counsel (after consultation with their clients) certify that (a) they have

discussed the nature and the basis of the parties’ claims and defenses and any possibilities for

achieving a prompt settlement or other resolution of the case and (b) have developed the

following proposed case management plan. Counsel further certify that they will share this report

with their clients.

                                             JURISDICTION

                A. Subject Matter Jurisdiction

        This Court has jurisdiction over the subject matter presented because the allegations satisfy
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the requirements of the Class Action Fairness Act of 2005 (“CAFA”), Pub. L. No. 109- 2, 119

Stat. 4 (2005) insofar as Plaintiff alleges he is a citizen of a different state than Defendant, there

are more than 100 members of the Class, and the aggregate amount in controversy exceeds five

million dollars ($5,000,000.00), exclusive of interest and costs. See 28 U.S.C. § 1332(d).

               B. Personal Jurisdiction

       Personal jurisdiction is not contested.

                                   BRIEF DESCRIPTION OF CASE

               A.      Claims of Plaintiff

       Plaintiff Jonathan Michel is an undergraduate student at Yale University. Plaintiff brings

this case on behalf of a putative class of undergraduate and graduate students who attended Yale

University during the Spring 2020 semester and/or subsequent semesters during which all or a

portion of classes were taught on-line. Plaintiff claims that he and the Class were overcharged by

Yale for in-person classes and an in-person campus experience when Yale only delivered remote

attendance at best. Plaintiff seeks damages for the amount of the overcharges on behalf of all Class

members. Plaintiff asserts causes of action sound in breach of contract, unjust enrichment and

violation of the Connecticut Unfair Trade Practices Act (“CUTPA”). This summary is not

intended to be a comprehensive discussion of Plaintiff’s claims. A more comprehensive outline

of Plaintiff’s allegations, claims and support for such claims is set forth in Plaintiff’s Opposition

to Defendant’s Motion to Dismiss Plaintiff’s Amended Complaint, as well as the Amended

Complaint itself. ECFs 46, 37.

               B. Defendant’s Defenses

       Yale believes Plaintiff’s claims are without merit. First, Yale contends that all of

Plaintiff’s claims are, at their essence, educational malpractice claims barred by the Gupta



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doctrine. Second, Plaintiff points to no contract provision entitling him to an-person education

regardless of the public health circumstances. The undergraduate regulations upon which

Plaintiff relies contradict his claims, providing Yale with the discretion to determine whether to

provide a refund, and for how much, and Yale properly exercised this discretion by providing a

pro rata refund of amounts attributable to room and board but not for tuition, as classes were still

being provided and associated costs incurred. Additionally, for the Fall 2020 semester and any

subsequent semester impacted by the pandemic, Yale made clear that many classes would

continue to be taught on-line and Plaintiff and all putative class members were aware of this

when they chose to enroll and pay tuition. Third, Plaintiff’s unjust enrichment claim fails for

additional reasons, including that there is nothing unjust about Yale’s conduct nor was their

enrichment. Fourth, Plaintiff’s CUTPA claim fails for additional reasons, including that Yale’s

choice to shift to on-line education is outside the scope of CUTPA, and there is nothing unfair or

deceptive about Yale’s conduct. Yale also contends that class treatment is inappropriate for

numerous reasons, including that individual issues predominate. This summary is not meant to

be a comprehensive discussion of the Defendant’s positions and Defendant reserves the right to

plead additional defenses in its answer should this litigation proceed beyond the resolution of its

Motion to Dismiss.

                               STATEMENT OF UNDISPUTED FACTS

          Counsel certify that they have made a good faith attempt to determine whether there are

any material facts that are not in dispute. While the parties have not yet been able to agree on which

if any facts may be undisputed, the parties have agreed to revisit these determinations on a

continual basis in the interest of promoting a just, speedy, and inexpensive determination of this

action.


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                                     CASE MANAGEMENT PLAN

               A.      Initial Disclosures

       The parties request a modification of the timeline for Rule 26(a) initial disclosures and

request that such disclosures be served on or before January 31, 2021.

               B. Scheduling Conference with the Court

       The parties do not request a pretrial conference with the Court before entry of a scheduling

order pursuant to Fed. R. Civ. P. 16(b) and, if one is held, would prefer that any such conference

be held via telephone or videoconference.

               C. Early Settlement Conference

       The parties certify that they have considered the desirability of attempting to settle the case

before undertaking any significant discovery or motion practice. Settlement is unlikely at this time.

       The parties do not request an early settlement conference, but if the Court is inclined to

order the parties to negotiate, the parties request that they be permitted to attend private mediation.

The parties also do not request a referral for alternative dispute resolution pursuant to D. Conn. L.

Civ. R. 16.

               D. Joinder of Parties and Amendment of Pleadings

       Plaintiff has already amended his complaint on October 16, 2020. Any further motion

will be subject to the standards under Rule 15(a)(2).

       Defendants shall be allowed until 30 days after the Court rules on their motion to dismiss

to answer the Complaint. Any request to amend the pleadings or join parties after that date will

be subject to the standards under Rule 15(a)(2).

               E. Discovery

       Recognizing the precise contours of the case, including the amounts of damages at issue,



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if any, may not be clear at this point in making the proposals below concerning discovery, the

parties have considered the scope of discovery permitted under Fed. R. Civ. P. 26(b)(1), and the

sequencing of discovery in making the proposals below.

                        i.   Anticipated Scope of Discovery

       Plaintiff anticipates discovery on the following subjects, among others. This listing of

topics does not indicate that Plaintiff agrees with Defendant’s identified topics, and, will not

preclude Plaintiff from asserting objections to specific discovery requests, as appropriate, or to

amending this list:

              i.      Defendant’s tuition policies and rate structure for both full-time and in person

                      attendance and on-line classes prior to and subsequent to Yale’s closure due to

                      the Covid-19 pandemic;

             ii.      Defendant’s marketing plan and materials used in recruiting prospective

                      students for academic years 2018-2019, 2019-2020, and 2020-2021, including

                      but not limited to webpages, brochures, press releases, tour guide scripts,

                      materials from college fairs and other information sessions, videos, online

                      postings, blogs, or social media presence.

            iii.      Defendant’s Student Handbooks, guidelines, and any and all additional rules

                      and regulations sent to new students for academic years 2018-2019, 2019-2020,

                      and 2020-2021.

            iv.       Defendant’s Course Catalogs for academic years 2018-2019, 2019-2020, and

                      2020-2021.

             v.       Defendant’s communications with state or local officials in February and

                      March 2020 related to, reflecting, or regarding the Covid-19 pandemic, internal



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                      communications reflecting same, and communications with other universities

                      reflecting same.

            vi.       Information related to, reflecting, or regarding Defendant’s March 2020

                      decision to move classes online and close the campus to students, along with

                      any related or attendant financial considerations.

            vii.      Information shared between Defendant and other universities related to,

                      reflecting, or regarding the March 2020 decision to move classes online and

                      close the campus to students.

           viii.      Information related to, reflecting, or regarding the economic impact of the

                      university’s cost of operations of the March 2020 decision to move classes

                      online and close the campus to students, including but not limited to those

                      documents reflecting savings from lower overhead, lower staffing and policing

                      requirements, lower maintenance and upkeep costs, etc.

            ix.       Information related to, reflecting, or regarding Defendant’s decision not to offer

                      partial tuition refunds and/or other refunds or reimbursements for the Spring

                      2020 and Fall 2020 semesters.

             x.       Information relating to how Defendant set its reduced pricing for online classes

                      prior to and after the Covid-19 campus closure and its considerations for doing

                      so.

       Defendant anticipates discovery on the following subjects, among others. This listing of

topics does not indicate that Defendant agrees with Plaintiff’s identified topics, and, will not

preclude Defendant from asserting objections to specific discovery requests, as appropriate, or to

amending this list:



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    i.   Plaintiff’s and putative class members’ pre- and post-admission interactions

         and communications with Defendant and its personnel

   ii.   Plaintiff’s and putative class members’ pre- and post-admission interactions

         and communications with third parties regarding Defendant

  iii.   Documents Plaintiff and putative class members contend form the contract with

         Yale

  iv.    Plaintiff’s and putative class members’ participation in activities as a member

         of the Yale community during their time at Yale.

   v.    Plaintiff’s and putative class members’ activities during the Spring 2020

         academic term and subsequent terms

  vi.    Plaintiff’s and putative class members’ financing or financial aid for his/their

         education at Yale

  vii.   Plaintiff’s and putative class members’ communications with the school

         regarding student requests to leave or remain on campus for Spring 2020

         semester

 viii.   Plaintiff’s and putative class members’ decision whether to return to campus

         for the Fall 2020 semester and subsequent semester

  ix.    Plaintiff’s and putative class members’ expectations and intended course

         experience and use of university services

   x.    Orders, direction, guidance, and the like issued by federal, state and local
         officials with respect to COVID-19
  xi.    Issues pertaining to class certification if class action claims remain in the case,

         including but not limited to the ascertainability of the proposed class, the

         commonality (or lack thereof) of the plaintiffs’ claims, the typicality (or lack


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                   thereof) of the plaintiffs’ claims, the plaintiffs’ adequacy to serve as proposed

                   class representatives, the adequacy of plaintiffs’ counsel to serve as counsel for

                   the proposed class, whether common issues of law or fact predominate over

                   individual issues, and whether a class action would be superior to other methods

                   of adjudication.

                    ii.   Discovery Period

       The Parties request that discovery commence after January 1, 2021 and conclude by

March 25, 2022. While this period is lengthier than in a typical case, this case is a complex class

action involving thousands of class members and alleging claims involving Yale’s

undergraduate, graduate and professional schools. It may also require discovery of government

officials in connection with their pandemic-related orders. Accordingly, the parties believe that

the timeline proposed is reasonable and necessary to adequately litigate the case. The parties

propose the following sequencing of discovery:


 Type of Discovery                Commencement Date                 Completion Date
 Written Discovery                January 1, 2021                   August 31, 2021
 Fact Witness Depositions         January 1, 2021                   December 31, 2021
 Plaintiff’s Expert(s)            -January 14, 2022                 March 11, 2022
                                  Plaintiff to disclose expert(s)   Defendant to complete
                                  and provide report(s)             deposition of plaintiff’s
                                                                    expert(s)
                                  -Plaintiff’s rebuttal expert
                                  report, if any, due by
                                  February 25, 2022
 Defendant’s Expert(s)            February 11, 2022                 March 25, 2022
                                                                    Plaintiff to complete
                                  -Defendant to disclose            deposition of defendant’s
                                  expert(s) and provide             expert(s)
                                  report(s)


       The parties have not requested a bifurcation between merits and class discovery. The

parties agree to work together cooperatively to reduce the burden of class discovery, including

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by seeking to agree to reasonable sampling protocols with respect to class discovery.

                     iii.    Interrogatories

        At this time, the parties do not anticipate that they will request permission to serve more

than 25 interrogatories. The parties agree to meet and confer should the demands of the case

identify a need for more than 25 interrogatories.

                     iv.     Depositions

        At this time, the parties do not anticipate that either of them will require more than 10

depositions of fact witnesses. The parties agree to meet and confer should the demands of the

case identify a need for more than 10 depositions by any party.

                    v.      Damages Analysis

        Plaintiff will provide a damages analysis by December 31, 2021.

                F. Dispositive Motions and Class Certification

        Any motion for class certification shall be filed no later than April 28, 2022. Defendant’s

opposition shall be due forty-five (45) days later, and any reply by the Plaintiff would be due

thirty (30) days thereafter. This provision does not prevent the filing of motion for class

certification at an earlier date.

        Any dispositive motion shall be filed no later than 30 days after the Court’s resolution of

class certification. This provision does not prevent the filing of a dispositive motion at an earlier

date.

                G. Joint Trial Memorandum

        A joint trial memorandum due date should be established after the Court rules on class

certification (given that whether or not class certification is granted will greatly impact the length


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and scope of any trial), and no earlier than 120 days after the deadline to file summary judgment

motions.

                                          TRIAL READINESS

       A trial readiness date should be established after the Court rules on class certification,

and no earlier than 120 days after the deadline to file summary judgment motions.

       As officers of the Court, undersigned counsel agrees to cooperate with each other and the

Court to promote the just, speedy and inexpensive determination of this action.

                                                      Respectfully submitted,

                                                      YALE UNIVERSITY

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